

Matter of Peters v Auburn Corr. Facility (2019 NY Slip Op 05303)





Matter of Peters v Auburn Corr. Facility


2019 NY Slip Op 05303


Decided on June 28, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 28, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, CARNI, NEMOYER, AND WINSLOW, JJ.


754 TP 19-00004

[*1]IN THE MATTER OF LUCIOUS PETERS, PETITIONER,
vAUBURN CORRECTIONAL FACILITY, RESPONDENT. 






JOHN M. REGAN, JR., ROCHESTER, FOR PETITIONER. 
LETITIA JAMES, ATTORNEY GENERAL, ALBANY (ALLYSON B. LEVINE OF COUNSEL), FOR RESPONDENT. 


	Proceeding pursuant to CPLR article 78 (transferred to the Appellate Division of the Supreme Court in the Fourth Judicial Department by order of the Supreme Court, Cayuga County [Thomas G. Leone, A.J.], entered December 27, 2018) to review a determination of respondent. The determination found after a tier II hearing that petitioner had violated various inmate rules. 
It is hereby ORDERED that the determination is unanimously confirmed without costs and the petition is dismissed.
Entered: June 28, 2019
Mark W. Bennett
Clerk of the Court








